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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


                                                              Master Docket
 IN RE DIDI GLOBAL INC. SECURITIES
 LITIGATION                                                   Case No . l:21-cv-05807-LAK-VF

                                                              STIPULATED PROTOCOL
 This Document Relates To: All Actions                        FOR DISCOVERY OF
                                                              ELECTRONICALLY STORED
                                                              INFORMATION ("ESI
                                                              PROTOCOL")

                                                              CLASS ACTION

       Lead Plaintiff Junhong Cao and named plaintiffs Shereen EI-Nahas, Alaka Holdings Ltd. ,

Bosco Wang, Daniil Alimov, and Njal Larson (together, "Plaintiffs"), Defendant Didi Global Inc.

("Didi" or the "Company"), Defendants Goldman Sachs (Asia) L.L.C. ("Goldman Sachs"),

Morgan Stanley & Co. LLC ("Morgan Stanley"), J.P . Morgan Securities LLC ("J.P. Morgan"),

BofA Securities, Inc. ("BofA Securities"), Barclays Capital Inc. ("Barclays"), Citigroup Global

Markets Inc. ("Citigroup"), HSBC Securities (USA) Inc. ("HSBC"), UBS Securities LLC

("UBS"), Mizuho Securities USA LLC ("Mizuho"), and China Renaissance Securities (US) Inc.

("CRS") (together, the "Underwriter Defendants), and Defendants Will Wei Cheng, Jean Qing

Liu, Stephen Jingshi Zhu, Alan Yue Zhuo, Adrian Perica, Kentaro Matsui, Martin Chi Ping Lau,

Zhiyi Chen, and Daniel Yong Zhang (together, the "Individual Defendants") (collectively,

"Defendants," and together with Plaintiffs, the "Parties" and each a "Party"), by and through their

respective undersigned counsel, hereby stipulate and agree to the following Stipulated Protocol for

Discovery of Electronically Stored Information (the "ESI Protocol" or "Protocol").




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    I.      GENERAL PROVISIONS

            1.       This Protocol will govern discovery of ESI and hard copy documents in this case

    as a supplement to the Federal Rules of Civil Procedure, the Local Rules of the United States

    District Courts for the Southern and Eastern Districts of New York (the "Local Rules"), and the

    individual Policies and Procedures of District Judge Lewis A. Kaplan I and Magistrate Judge

    Valerie Figueredo 2 (together, the "Individual Rules"), and any other applicable orders and rules.

            2.       The Parties are aware of the importance the Court places on cooperation and

    commit to cooperate in good faith throughout this matter. The Parties shall follow Local Rule 26.4

    and the Courts' Individual Rules with respect to any and all discovery disputes.

            3.       Unless otherwise agreed to or directed by the Court, each Party will bear the costs

    of collecting, processing and reviewing documents in that Party's possession, custody, or control

    according to this Protocol.

            4.       Nothing in this Protocol shall be construed to affect the discoverability or

    admissibility of any document. All objections to the discoverability or admissibility of any

    document are preserved and may be asserted at any time in accordance with the applicable Federal

    Rules of Evidence, Federal Rules of Civil Procedure, and/or Local Rules or Individual Rules of

    this Court.

            5.       Each production of ESI shall be accompanied by correspondence indicating the

    Bates range and any applicable passwords.



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      Available at:
    https://www.nysd.uscourts .gov/sites/default/files/practice_documents/LAK%20Kaplan%20Individual%20practices
    %20_%204.18.2020.pdf
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      Available at:
    https ://www.nysd.uscourts .gov/sites/default/files/practice_documents/VF%20Figueredo%20Rules%20of°l«i20Practic
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     II.        DEFINITIONS

           1.        The Parties expressly adopt and incorporate by reference (as iffully set forth herein)

     the uniform definitions set forth in Local Rule 26.3. Additional defined terms are set forth below.

     In the event of any conflict, the more specific definitions set forth below shall control.

           2.        Action : means the above-referenced action.

           3.        Document: has the meaning ascribed to it in Federal Rule of Civil Procedure

     34(a)(l)(A) and S.D.N.Y. Local Rule 26.3. The term "Document" shall include Hard-Copy

     Documents and ESI as defined herein.

           4.        Email: means electronic messages sent or received over the internet using simple

     mail transfer protocol or internally within an organization's mail service, including, but not limited

     to, Microsoft Exchange.

           5.        Email Threading: means a single email conversation that starts with an original

     email (the beginning of the conversation) and includes all subsequent replies and forwards

     pertaining to that original email.

           6.        ESI: an abbreviation of "electronically stored information," which has the meaning

     ascribed to in Federal Rule of Civil Procedure 34(a)(l)(A).

           7.        Extracted Text: means text extracted from a Native Format file and includes at least

     all headers, footers , document body information, and any hidden text, if available. The extracted

     text shall contain the content of any hypertext markup language ("HTML") present in the Native

     Format file , specifically including (but not limited to) the full anchor and target text of any

     Hyperlinks, as defined herein. The extracted text must not include text of characters that were not

     part of the text of the original Native Format file , including but limited to, Bates Numbers and

     Endorsements (except in the cases of redactions).
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              8.        Go-Get: means a request to manually retrieve and produce a specifically-identified

        document, or small number of documents.

              9.        Hard-Copy Document: means Documents existing in paper form at the time of

        collection.

            10.         Hash Value: means the unique numerical identifier that can be assigned to a file, a

        group of files, or a portion of a file , based on a standard mathematical algorithm applied to the

        characteristics of the data set. The most commonly used algorithms, known as MD5 and SHA, will

        generate numerical values so distinctive that the chance that any two data sets will have the same

        Hash Value, no matter how similar they appear, is less than one in one billion. "Hashing" is used

        to guarantee the authenticity of an original data set and can be used as a digital equivalent of the

        Bates stamp used in Hard-Copy Document productions.

            11 .        Hyperlink: means an HTML link from an electronic Document to another electronic

        Document, typically activated by clicking on a highlighted word or image on the screen, and

        includes both the "anchor" text (i.e., the ordinarily visible, clickable text of the hyperlink, often

        presented in blue in the linking document) and the "target" text (i.e., the ordinarily invisible

        hypertext containing the Uniform Resource Locator ("URL") for the location of the linked

        document).

            12.         Instant Messages: means real-time communications sent via chat client, short

        messaging service ("SMS"), Multimedia Messaging Service ("MMS"), or Rich Messaging Service

        ("RMS"), including but not limited to: Slack, Microsoft Teams, Google Talk, Google Chat, Google

        Hangouts, Skype, Facebook Messenger, Instagram Messenger, Line, Wire, Signal, Telegram,

        Snapchat, Wickr, Discord, WhatsApp, Bloomberg Messenger, WeChat, DingTalk, Tencent QQ,

        Sina Weibo, TikTok (Douyin), or any similar or proprietary instant messaging system.
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         13.        Load File: means an electronic file that is used to import all required production

     information into a document database, including, if available, document images, Extracted Text or

     OCR text, Native Format files where required by this ESI Protocol, and Metadata, as well as

     information indicating document breaks, and document relationships such as those between an

     Email or Instant Message and its attachments, and a document and information related to

     embedded content.

         14.        Metadata: means (i) structured information about ESI that is created by the file

     system or application that is not ordinarily viewable or printable from the application that

     generated, edited, or modified such native file, embedded in the Document or Email and sometimes

     modified through ordinary business use; (ii) information generated automatically by the operation

     of a computer or other information technology system when a native file is created, modified,

     transmitted, deleted, or otherwise manipulated by a user of such system; (iii) information, such as

     Bates Numbers, created during the course of processing Documents or ESI for production; and

     (iv) information collected during the course of collecting Documents or ESI, such as the name of

     the Media device on which it was stored, or the custodian or non-custodial data source from which

     it was collected. Metadata of the ESI describes, inter a/ia, the characteristics, origins, usage, and

     validity of the collected ESL

         15.        Native Format: means the format of ESI in the application in which such ESI was

     originally created.

         16.        OCR: means the optical character recognition technology used to read Hard-Copy

     Documents or electronic images of Documents and output such Documents to a searchable text

     format.


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       17.          Producing Party: means any Party or Third Party in the Action that produces

Documents.

       18.          Protective Order: means the Confidentiality Stipulation and Protective Order, Dkt.

No. 190, entered in this Action on May 22, 2029, as amended by any subsequent order(s) of the

Court.

       19.          Receiving Party: means a Party in the Action to whom Documents are produced.

       20.          Responsive Document: means any Document that is responsive to any discovery

request or subpoena served on the Producing Party in the Action and which the Producing Party

has agreed or been ordered to produce, subject to the limitations set forth in the Federal Rule of

Civil Procedure and/or Court order.

       21.          Tagged Image File Format or TIFF: refers to the CCITT Group IV graphic file

format for storing bit-mapped images of ESI or Hard-Copy Documents.

       22.          Third Party: Any other person/entity, other than a party to this Action.

III.         PRESERVATION AND IDENTIFICATION OF POTENTIALLY RELEVANT
             INFORMATION AND ESI

             The Parties acknowledge that they have an obligation to take reasonable and proportional

steps to preserve discoverable information in the Party's possession, custody, or control. Nothing

in this ESI Protocol shall affect the Parties' respective preservation obligations imposed by rule or

law.

IV.          SEARCH, COLLECTION & REVIEW

             The Parties will meet and confer in good faith to discuss any methodologies to be employed

for the collection and production of documents in response to any Fed. R. Civ. P. 34 request for

production, such as the use of search terms, date ranges, electronic sources, or other filters. The

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Parties may use advanced search, analytical, and retrieval technologies like predictive coding or

other technology-assisted review ("TAR") in order to prioritize the review of or the grouping of

documents requested or returned from the use of search terms, date ranges, electronic sources, or

other filters as agreed to between the Parties. Advanced search, analytical, and retrieval

technologies such as predictive coding or other TAR shall not be used to exclude from production

any documents returned from search protocols agreed to between the Parties. The Producing Party,

to the extent search terms are used, will upon request undertake reasonable efforts to provide search

term reports identifying the "hit" count of documents and documents including family per search

term, the unique hit count of documents and documents including family per search term, and the

total number of unique documents that hit on the search term list as a whole.

V.     PRODUCTION           FORMATS         FOR       DOCUMENTS         FROM       HARD      COPY

       DOCUMENTS

       A.      Generally: Except for redacted and logged documents as described in Section 0 of

this ESI Protocol, infra, the Parties will produce documents originating from Hard Copy

Documents in CCITT Group IV single-page TIFF format (black and white, 300 dpi)If an original

document contains color, it need not be produced in color in the first instance. However, the

Producing Party will honor reasonable requests for a color image, if color is necessary to

understand the meaning or content of the document. Color documents shall be produced as single-

page, 300 DPI JPG images with JPG compression and a high-quality setting to as to preserve

legibility. The Parties agree not to degrade the searchability or legibility of documents as part of

the document production process.

       B.      Document Unitization: In scanning paper Hard Copy Documents, each page of

paper should be output to a single page TIFF file. Distinct, logical document breaks should be
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    defined as such in a standard load file as described herein. In the case of an organized compilation

    of separate Documents (e.g., a binder containing several separate Documents behind numbered

    tabs) the Document behind each tab should be scanned separately, but any document or family

    relationship among the scanned Documents in the compilation should be reflected in the data load

    file at the appropriate standard fields . Pages containing post-it notes or other detachable notes that

    obscure the underlying Document should be scanned once with the detachable note intact, and then

    again without it, and made part of the same Document. The Parties shall make reasonable efforts

    to unitize the Documents in accordance with this paragraph, but recognize that certain documents

    and categories of documents might not reasonably be scanned to comply.

           C.        Load File: The Parties will provide a standardized load file compatible with

    Relativity and with a Bates number field included in the load file to match text and metadata with

    TIFF/JPG images. With respect to hard copy documents, data on the load file will include the

    following metadata or their equivalents (when available), as defined in Section VI of this ESI

    Protocol:

                a. BEGDOC;

                b. ENDDOC;

                C.   BEGATTACH;

                d. ENDATTACH;

                e. CUSTODIAN;

                f.   CONFIDENTIALITY;

                g. PGCOUNT;

                h. REDACTED; and

                1.   TEXTLINK.
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VI.     PRODUCTION FORMATS FOR ESI

        A.      Production Format Generally.: Except for redacted and logged documents as

described in Section 0 of this ESI Protocol, infra, the Parties will produce documents originating

as ESI in TIFF format, with the exception of spreadsheets, audio, and video files , which shall be

produced in native format. ESI shall be produced with extracted text, along with the below listed

metadata fields, where reasonably available. If an original document contains color, it need not be

produced in color in the first instance. However, the Producing Party will honor reasonable

requests for a color image, if color is necessary to understand the meaning or content of the

document. Color documents should be produced as single-page, 300 DPI JPG images with JPG

compression and a high-quality setting as to not d~grade the original image. TIFFs/JPGs will show

any and all text and images, including track changes where applicable, that would be visible to the

reader using the native software that created the document. For example, TIFFs/JPGs of email

messages should include the BCC line. If the image does not accurately reflect the document as it

was kept in the usual course of business, including all comments, edits, tracking, etc., the Parties

agree to meet and confer in good faith on production format options. Subject to the caveat below,

embedded files shall be produced as attachments to the document that contained the embedded

file , with the parent/child relationship preserved. The embedded files will be marked with a "YES"

in the load file under the "EMBEDDED" metadata field. The Parties agree that embedded

documents need not be extracted as separate documents as long as they are displayed in their

entirety and legible in the parent document (e.g., logos, icons, or images). Compressed file types

(e.g., .ZIP, .RAR, .CAB, .Z) should be decompressed so that the lowest level document or file is

extracted. The Parties will provide a standardized load file compatible with Relativity.


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       B.      Metadata: Each of the Metadata and coding fields set forth below that can

reasonably and technically be extracted or generated from a Document shall be produced for that

Document. All ESI will be collected in a manner that preserves the associated metadata intact

(specifically including, but not limited to, the below-listed fields for "Created Date/Time" and

"Last Modified Date/Time"). To the extent that metadata below does not exist or is not reasonably

accessible or available for any documents produced, nothing in this Order shall require any Party

to extract, capture, collect, or produce such data, with the exception of the following fields, if

available: (a) BegBates; (b) EndBates; (c) BegAttach; (d) EndAttach; (e) All Custodian; (f)

Redacted (YIN); (g) Confidentiality; and (h) Hash Value. Metadata shall be provided in a

Concordance-format delimited file with a .DAT file extension and ASCII 020 and 254 delimiters

for column break and text qualifier. The first line shall be the header with field names, and each

subsequent line shall contain the fielded data for each Document. The Parties also agree that every

production of previously unproduced Documents, the Metadata field values for each Metadata

field header will be mapped to the same Metadata field source, unless otherwise agreed in writing.

For redacted items which were originally ESI, all non-privileged metadata fields will be provided

and will include all non-privileged, non-redacted data. Redacted documents shall be identified as

such in the load file provided with the production. Nothing herein shall require a Producing Party

to create or produce Metadata that does not exist, cannot be generated by ESI processing software,

or is not reasonably or technically collectable. The Parties agree, in particular, that "go-get"

collections of small sets of documents do not require forensic-style collection to preserve all

metadata. When the Producing Party is unable to produce metadata for a particular field or ESI

document, the Receiving Party may request an explanation of that inability. The Parties shall then


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     meet and confer to attempt to resolve the problems. With respect to ESI, data on the load file will

     include the following metadata fields or their equivalents (when reasonably collectable):



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                       Field NaJne            ¼
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                                                         <<'>           "·
      BEGDOC                                      Begin Document Bates number

      ENDDOC                                      End Document Bates number

      BEGATTACH                                   Begin Bates number of family unit

      ENDATTACH                                   End Bates number of family unit

      CUSTODIAN                                   Individual from whom the document originated

      ALL CUSTODIAN                               Name of the agreed-upon custodians, in addition to the
                                                  primary custodian, from whose files the item would have
                                                  been produced if it had not been de-duplicated

      FROM                                        Author of the email message

      TO                                          Recipient(s) of the email message

      cc                                          Recipient(s) of "Carbon Copies" of thee- mail message

      BCC                                         Recipient(s) of "Blind Carbon Copies" of the email
                                                  message

      DOCUMENT SUBJECT                            Subject field extracted from the metadata of the native file

      EMAIL SUBJECT                               Subject field extracted from the metadata of an email file

      DOCUMENT TITLE                              The title of a document

      DOCUMENT AUTHOR                             Author field extracted from the metadata of the native file

      FILE EXTENSION                              File extension of a document

      CREATED DA TE/TIME                          Date and time file was created

     LAST MODIFIED DATE/TIME                      Date and time document was last modified

      EMAIL SENT DATE/TIME                        Date and time email was sent

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EMAIL RECEIVED                      Date and time email was received
DATE/TIME

DATE/TIME APPOINTMENT               Start date and time of calendar appointment entry
START

DATE/TIME APPOINTMENT              End date of calendar appointment entry
END

LAST EDITED BY                     Name of the last person to edit the document from
                                   extracted metadata

ACCESSED BY                        Name of each person who accessed the document and the
                                   times(s) each such person first and last accessed the
                                   document
PGCOUNT                            Number of pages in a document (image records)


FILE SIZE                          File size in bytes

LOGICALPATH                         Original logical path location of the document in the
                                    repository from which it was collected.
FILE TYPE                          File Type: email, image, spreadsheet, presentation, etc.

MD5HASH                             Unique identifier of the file

FILENAME                           Original name of the file or subject of email, including
                                   file extension
CONFIDENTIALITY                    User-generated field that will indicate confidentiality
                                   pursuant to the Protective Order (i.e., CONFIDENTIAL).
                                   Otherwise, blank.

REDACTED                           YES if applicable. Otherwise, blank.

TECHNICAL ISSUE                    YES where slip sheet reads "Technical issue-file cannot
                                   be processed." Otherwise, blank.

TEXTLINK                            Contains Path to .TXT files

NATIVELINK                          Contains Path to native files

SOURCE                             Physical location where documents were collected (e.g.,
                                   Custodian's laptop, hard drive, shared drive, cell phone)



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 ISEMBEDDED                            Identifies if a document is embedded in another
                                       document.

         C.     Reproduction in Native Format: The Parties further agree that to the extent any

Party seeks production in native format of specifically identified ESI produced originally in TIFF

form for good cause shown, the Producing Party shall respond reasonably and in good faith to any

such request.

VII.     MISCELLANEOUS PROVISIONS

         A.     Additional Custodians or Data

         The Parties will endeavor to seek documents or data from all relevant repositories of

information during the parties' initial discussions on the parameters of such discovery, but reserve

the right to request inclusion of additional custodians or non-custodial data sources whose

relevance was discovered via documents or data produced, or testimony given, or for other good

cause shown, within a reasonable time of such discovery, subject to the Local Rules and Individual

Rules, through the close of fact discovery. If the Producing Party objects to the inclusion of such

sources, the Parties will meet and confer to resolve the matter. If the Parties cannot reach

resolution, the Court will determine the matter.

         B.     Additional Formatting Processes

         Any Producing Party may De-NIST their electronic collections before searching and

review using the then-current NIST list published by the National Institute of Standards and

Technology.

         To the extent that relevant ESI cannot be rendered or reviewed without the use of

proprietary or special software, the Parties shall meet and confer to minimize any expense or



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    burden associated with the production of such documents or information in an acceptable format,

    including issues as may arise with respect to obtaining access to any such software.

           The Parties will make reasonable efforts to ensure that all encrypted or password-protected

    ESI are successfully processed prior to production. To the extent encrypted or password-protected

    ESI are successfully processed, the Parties have no duty to identify further the prior encrypted

    status of such documents. To the extent security protection for such ESI cannot be successfully

    processed despite reasonable efforts, the Parties shall not be required to produce them. If a member

    of a document family that has otherwise been determined to be responsive cannot be technically

    processed (e.g., unsupported file format, file corruption, inaccessible password-protected

    document) using reasonable efforts, those technical problems shall be identified and disclosed to

    the receiving party by production of a Bates numbered slip sheet that states "Technical issue-file

    cannot be processed." A receiving Party thereafter may raise with the Producing Party any

    questions or concerns, and the Parties shall meet and confer to attempt to resolve any issues.

           C.      Bates Numbering

           The Parties shall assign a Bates number to individual pages of TIFF documents and a Bates

    number to each document produced in native format. Bates numbers shall be unique across the

    entire document production and sequential within a given document. All volumes of production

    shall be identified by the same Bates prefix and a numerical sequence. Re-produced documents

    shall include their original Bates numbers, if any.

           D.      Confidentiality Designations

           If a document or other ESI has a confidentiality designation, the designation shall be

    stamped on the face of all TIFF images pertaining to such document pursuant to the Protective

    Order. If the receiving Party believes that a confidentiality designation obscures the content of a
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    document, then the rece1vmg Party may request that the document be produced with the

    confidentiality designation in a different position. No Party may attach to any filing or any

    correspondence addressed to the Court (including any Magistrate Judge), or any adverse or third

    party, or submit as an exhibit at a deposition or any other judicial proceeding, a copy (whether

    electronic or otherwise) of any native format document produced by any party without ensuring

    that the corresponding Bates number and confidentiality legend, as designated by the Producing

    Party, appears on the Document or in the filename, if used in native format. For each document

    that is marked confidential, a confidentiality field will be populated with the word "Confidential"

    in the .DAT file.

           E.      De-Duplication and Document Families

           The Parties will perform de-duplication of ESI within and across custodians according to

    MD5 or SHA-1 hash values at a family level and will produce only a single copy of identical ESI,

    except where de-duplication would break up document families. De-duplication shall not break up

    document families. The custodian associated with the first copy of a document processed will be

    considered the primary custodian for that document (the custodian who will be used as the basis

    for determining which other collected documents are duplicates). The Producing Party shall

    produce an "All Custodians" metadata field with each production as specified in Section VI above

    which lists every custodian or source who or which possessed a duplicate document. If the Parties

    de-duplicate ESI, they shall provide custodian associations in a semi-colon delimited field that

    includes duplicate custodian name information. If additional documents are produced after

    substantial completion of document discovery, the Producing Party shall produce an overlay that

    provides an updated "All Custodian" field at the time new productions are made.


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       If there are any handwritten notes, or any other markings, on a document, it shall not be

considered a duplicate. Any document that contains an alteration, marking on, or addition to the

original document shall be treated as a distinct version, and shall be produced as such. These

alterations include, but are not limited to, handwritten notes, electronic notes/tabs, edits,

highlighting or redlining. If such markings/alterations are made in color, the documents must, to

the extent reasonably practicable, be produced in color as originally intended.

       For purposes of production, and to the extent feasible on an automated, scalable basis with

existing technology, responsive documents should include all parent items (mail, calendar,

contacts, tasks, notes, etc.) and child files (attachments of files to email to internal or nonpublic

documents, or other items), with the parent/ child relationship preserved.

       F.      Hyperlinks




                          ffs' Proposed Language: For Documents responsive to

                          nded requests issued pursuant to Fed. R. Civ. P. 34 or 45, t




                                                                      , the Receiving Party may make

                   reasonable and                                                         conduct a

                   reasonable    s               internal                                  identified

                                     For each hyperlink identified by th

                                     , the Producing Party shall conduct a


                                     Case No. I :21-cv-05807-LAK-VF
     ST!PULATED PROTOCOL FOR DISCOVERY OF ELECTRONICALLY STORED lNFORMA TION {"ES! PROTOCOL")
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                                        ocuments corresponding with the hyperlinks



                           traditional attachment to the original Document c

                               produced in the same manner as other doc

                                    etadata linking family members · the load file). To the




             obstacle to the collection or prod



             Requesting Party a description                  of the issue, and the Parties will

             meet and confer in good fait to negotiate am       ally-agreeable compromise.




             attaching Word ocuments or PDFs to emails. These hyper

                             ttachments, and Plaintiffs' proposed language wo

             as such: i a responsive, non-privileged document contains a hype ·nk, the

                       ed document should be produced and linked to the original doc

                    etadata to preserve the parent/child relationship.

                                require Producing Parties - only to the extent such an

                tomated search is feasible - to run an automated search to identify responsive

                     n s that contain hyperlinks, locate the hyperlinked documents,
                             Case No. l:21-cv-05807-LAK-VF
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                                                           the extent any hyperlinked document is

                                          Party, the Receiving Party would be able to send




                                           concerning any technological obstacles to such utomated

                                               roposal is modeled on clauses from other       I protocols

                                                    ee In re Google Digital Advert. Ant· ust Litig., 2023

                        WL 2557433, at *9 (S .D.N. . Mar. 17, 2023); In re Ace minophen - ASD-

                       ADHD Prod. Liab. Litig., No .




                        email attachments and documents embe

                        files embedded in PowerPoint files)

                        internal or non-public document        inked, hyperlinked,

                       pointed to within or as part        other ESI (including but no   imited to email,

                        messages, comments or        sts, or other documents)."); Lea M ani Bays and

                        Stuart A. Davidson       e Missing Links: Why Hyper/inks Must B Treated as



                                     earch does not impose undue burden on Defendants. An            it is

                                    for Defendants to claim such an automated




    3 Available at: htt}'s://scho larship.law.uc.edu/uclr/vol92/iss4/9
                                        Case No . I :21-cv-05807-LAK-VF
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          o   lhfELLd   I 1 D er     JI    771    ■ c \fter receiving a production of documents


              responsive to properly propounded requests issued pursuant to Fed. R. Civ. P.

              34 or 45, the Receiving Party may make reasonable and proportionate requests

              that the Producing Party conduct a reasonable search for internal or non-public

              document identified via hyperlinks.



                                          the source of every h

                                                                                 that is neither



                                                                   n Defendants, Plaintiffs insist

                                                                  attachments." But that is not



                              ed-to documents are not attachments");        1


                             46, at *4 (S.D.N.Y. Mar. 11, 2021) ("[T]he Co

                             ked document is an attachment.").


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                                        ay to gather those materials is to search and produc



                                         likely to have responsive materials and co           ct from them,

                                                  repositories. If Plaintiffs wis               hyperlinked

                                                                                   to an original document



                                                                        reating an artificial parent/child



                                                                       ically possible the majority of times

                       based on current commercia           available syste s. See In re Stubhub, 2024 WL



                                                requirement is technologically i

                       of the time").      onsistent with the Federal Rules, Defend      ts will search and

                                     Iis and custodial files as part of discovery negotiati

                                   in Defendants ' proposal, they will entertain reaso                    and

                                         requests to search for hyperlinked documents identifie



           G.      Encryption. The Parties will make reasonable efforts to ensure that all encrypted or

    password-protected Documents are successfully processed for review and production under the

    requirements of this Order. Upon request from either Party, the Parties shall meet and confer in

    good faith regarding reasonable efforts or mechanisms to remove such security protection or the

    production of 11vailable Metadata.
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         S TIPULATED PROTOCOL FOR DISCOVERY OF E LECTRONI CALLY STORED lNFORMA TI ON (" ESI PROTOCOL" )
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       H.      Responsive ESI Discovered Outside of Search Methodology. Notwithstanding any

of the foregoing, if any Party identifies ESI or Documents that are responsive and subject to

discovery in this matter outside of the search methodology(ies) agreed to by the Parties, it shall

produce all such Documents except any that must be withheld or redacted on the basis of privilege,

work product, or other grounds ..

       I.      ESI Not Required. The Parties agree that the following ESI does not require

preservation, collection, review, or production because they are either not reasonably accessible

or because the remote possibility of additional relevant information existing in not reasonably

accessible sources is substantially outweighed by the burden and cost of preservation, collection,

review, and production, provided, however, that nothing herein shall prevent a Party from

subsequently requesting that Documents from the sources identified below be preserved and

produced if specific facts demonstrate a particular need for such Documents that justifies the

burden of preservation and retrieval:

               a.      Deleted, shadowed, damaged, residual, slack, fragmented, or other data on

       hard drives, solid-state drives (SSDs), or similar physical media, and which are only

       accessible by forensics;

               b.      Random access memory (RAM), temporary files, or other ephemeral data

       that is difficult to preserve without disabling the operating system;

               c.      On-line access data such as temporary Internet files, history, cache, cookies,

       and the like;

               d.      Data stored on photocopiers, scanners, and fax machines;

               e.      Data in metadata fields that are frequently updated automatically, such as

       last-opened dates;
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                 f.      Data maintained or duplicated in any electronic backup system for the

       purpose of system recovery or information restoration, including, but not limited to, system

       recovery backup tapes or other media, continuity of operations systems, and data or system

       mirrors or shadows, if such data are routinely purged, overwritten, or otherwise made not

       reasonably accessible in accordance with an established routine system maintenance

       policy;

                 g.      Server, system, or network logs;

                 h.      Data remaining from systems no longer in use that is unintelligible on the

       systems in use;

                 1.      Video surveillance data; and

                 j.      Email, calendars, and contact data sent to or from mobile devices (e.g.,

       iPhone, iPad, Android, and Blackberry devices), provided that a copy of all such electronic

       data is saved elsewhere (such as on a server, laptop, desktop computer, or "cloud" storage).

       J.        Preservation of Parent-Child Relationships: The Parties agree that if any part of an

email or its attachments is responsive, the entire family of email and attachments will be produced,

to the extent feasible on an automated. scalable basis with existing technology. except any family

members that must be withheld or redacted on the basis of privilege, work product, or other

grounds. The Parties shall use reasonable efforts to preserve parent-child relationships (the

association between an attachment and its parent document). The Parties will provide a

BEGATIACH and ENDATIACH for each produced attachment in the load file . If any member

of a document "family" (e.g., an email attachment) is withheld as privileged, then the producing

party shall produce a one-page slipsheet TIFF image stating, "Withheld on Privilege Grounds",

and bearing a unique Bates number.
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  K.      Redactions




                          Proposed Language: Except as set forth herein, respo

                          shall not be withheld or redacted on any basis                   the

                   ey-client privilege, attorney work product doctrine, or

             protect n or privilege under U.S. law. In addition,

             following p sonally sensitive or identifiable info   ation: bank and brokerage

             account numbe ; social security number , personal addresses; personal

             telephone numbers, other personal iden · ing information; and the names of




                                                   shall not be redacted for relevance,

             responsiveness, or                    ot contemplated herein. The Parties will




             fully p tected from disclosure. To the exten

             tex the Parties shall provide a copy of the native

              edacted items that were originally ESI, all metadata fiel



             provided and will include all non-redacted data. If,




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              reasonable basis for redacting, the Parties will meet and confer regardin

              before such redactions are made.

          0       laintiffs' Ex lanation: Consistent with the Court's directives at

              2     4 conference, Plaintiffs believe that Defendants should n         e allowed to

                       or withhold documents based on PRC privacy

                          r. at 5:6-11 ("I understand that, but you als need to understand, and

              I think I've ad occasion to write on this previo      y, that is the U.S. rules that

              apply. If a fore n party invokes blocking s      utes and the like, it will not stop



                                                         o not believe the parties should be




                                                               from admittedly responsive and

              relevant      cuments based on that party's u · ateral determinations of

              releva     y."); In re State St. Bank & Tr. Co. Fixed In

                       WL 1026013, at *1 (S.D.N.Y. Apr. 8, 2009)

              generally unwise" because they "breed suspicions, and they ma




              D 2ft!Bd    I 1 D sp6&Cd LJHUJ&gtr: A Party may redact the following f

              personally sensitive or identifiable information: bank and brokerage account
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             numbers; social security numbers; personal addresses; personal telephone

             numbers; other personal identifying information; and the names of minor

             children. For redacted items that were originally ESI, all metadata fields noted

             in this Protocol that do not contain privileged or protected information will be

             provided and will include all non-redacted data. The Parties will produce

             redacted documents in TIFF format with corresponding searchable text and

             associated metadata for the documents, ensuring the redacted content is fully

             protected from disclosure. To the extent spreadsheets contain redacted text, the

             Parties shall provide a copy of the native file with redactions. For redacted items

             that were originally ESI, all metadata fields noted in this ESI Protocol that do

             not contain privileged or protected information will be provided and will

             include all non-redacted data. If, during the course of discovery, the Parties

             identify other kinds of information that and Party has a reasonable basis for

             redacting, the Parties will meet and confer regarding it before such redactions

             are made.



                                            hold responsi



                                                            aeral or state law. A d d i t ~

                                                                issue of theoretical document




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                     · at that time and with reference to the a

                                ndertake the required comity




       L.      Privilege Log: The Parties agree that for all documents and information that are

withheld or redacted on privilege, work product, or any other grounds4, the following information

will be provided in an easily readable chart ("Privilege Log"):

               a.       Privilege log reference number;

               b.       Bates range of document (if applicable);

               c.       Author(s) (designating which, if any, are attorneys);

                d.      Recipient(s), including copyee(s) and blind carbon copyee(s) (designating
which, if any, are attorneys);


               .e.      The file name, for non-email documents;

               f.       The email subject, for email documents;

               g.       The custodian;

               h.       The sent date of email documents;

               i.       The creation date, for non-email documents;

               J.       The file type;


4
 Nothing in this provision shall be interpreted as any Party waiving its rights to object to the
propriety of a Producing Party withholding or redacting information on any grounds.
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                k.      Categorical description of the documents in a manner that, without
                        revealing information itself privileged or protected, will enable other
                        parties to assess the claim; and

                I.      The asserted basis for withholding.

        The following categories of documents need not be logged :

                 a. Documents that reflect communications with the undersigned counsel or
                    members of their law firms that are related to this litigation, and that post-
                    date the filing of the initial complaint in this Action; and

                 b. Work product created by any of the undersigned firms or agent of the
                    undersigned firms that is related to this litigation, and that post-dates the
                    filing of the initial complaint.

        M.      Timing of Privilege Logs: Privilege Logs shall be produced and/or supplemented

on a rolling basis contemporaneously with each partial production of documents, and in no event

later than thirty(30) calendar days after each such logged document is produced (or would have

been produced, but for withholding or redaction).

       N.       Processing Specifications: The Producing Party will generate and preserve the

MD5 or SHA-1 hash values of all ESI based on the Native Format file. Where Documents are not

otherwise produced natively, all TIFF images shall display deletions, revisions, comments, speaker

notes, and other rich data (including, but not limited to, hidden text, strikethrough text, the identity

of the person making the deletion or revision and the date and time thereof, etc.) as displayed in

the Document, regardless of the display setting for this information as last saved by the custodian,

to the extent reasonably possible. Producing Parties shall make reasonable efforts to process all

ESI with a single time zone and a date and time setting that is consistent across all of the Parties '

productions. The Parties agree to meet and confer in good faith with regard to any issues arising

from this aspect of production.
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        0.       Production Media: The Producing Party shall produce Document images, Native

Format files, load files, and Metadata via secure file transfer protocol ("FTP") or physical media

("Production Media"). For physical media, each piece shall include a unique identifying label

corresponding to the identity of the Producing Party (e.g., "DD"), the sequential production

number (e.g., "PROD004"), and the Document Number ranges of the Documents in that

production (e.g., "DD0000000123 - DD0000000456"). To the extent that the Production Media

includes any confidential information protected under Protective Order, the label on such

Production Media shall indicate that the Production Media includes information so designated as

required under the terms of the Protective Order. Production Media shall include text referencing

the case name and number. Further, any replacement Production Media shall cross-reference the

original Production Media, clearly identify that it is a replacement, and cross-reference the

BEGDOC and ENDDOC range that is being replaced. All Production Media that is capable of

write protection should be write-protected before production. All Production Media may be

encrypted, with the Producing Party to provide a decryption key under separate cover at the time

of production.

        P.       Third Party Documents and ESI

        A Party that issues a subpoena upon any third-party ("Issuing Party") shall include a copy

of this Protocol and the Protective Order with the subpoena. The Issuing Party shall produce a

copy to all other Parties of any ESI or hard copy (including any metadata) obtained under subpoena

to a third party. If a third-party production is not Bates-stamped, the Issuing Party will endorse the

non-Party production with unique Bates prefixes and numbering scheme prior to reproducing them

to all other Parties.

        Q.       Non-English Language Documents and ESI
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                 Metadata: In addition to the required production Metadata and Load File

  formats specified elsewhere in this ESI Protocol, including in Exhibit A, the Metadata for

  any translations produced to another Party shall clearly and logically reflect the translated

  document's relationship to the original language document, in a consistent manner

  designed to facilitate automated identification of all translations produced that are

  associated with a given original language document. In addition, the primary language for

  each document produced shall be set forth in the accompanying Metadata to the extent

  reasonably practicable using automated processes. The Parties will meet and confer on the

  necessity of additional formatting processes to enhance the production of Non-English

  language Documents and ESI, including but not limited to: (a) additional or different ESI

  metadata and coding fields; and (b) alternative technical specifications for documents

  containing text or characters which may be rendered inaccurate or illegible through the

  imaging and/or OCR process(es).

           2.    OCR Text: Non-English language Hard Copy Documents shall be produced

  with corresponding searchable multi-page optical character recognition ("OCR") text.

  Settings such as "auto-skewing" and "auto-rotation" should be turned on during the OCR

  process. All OCR shall be performed in a manner that takes into account the primary

  language contained in a document, so as to render the most useful resulting OCR text.

      3.         Search Terms: For any search terms to be utilized in this action, the Parties

  agree to meet and confer in good faith in order to arrive at mutually agreeable translations

  of such search terms into any relevant languages, dialects, or character sets. One or more




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     of the original and any translated forms of any search term may be applied to search a

     Party's ESI, as agreed by the Parties.

VIII. CROSS BORDER DISCOVERY

     •   b@i@il&illl§ I J§ltlbll

             o   B@ftiidsiid P1 spsscd kw g             1 The parties (including PRC counsel) will


                 work cooperatively to address any complications of PRC discovery as

                 efficiently as possible.




                 helpful m

                 parties.



                                            o these documents in a manner

                                        mese ega systems.



                                                                                                      IS




                                                                 in Section I.2, the parties will   wary.-
                                                                 the discovery process. However~

                                                                   · the collection of [Defendants']

                                       it Plaintiffs' responsibility

                                      pliance with PRC law.


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                                                                         counsel, the PRC-based

                                             overy for nearly th e years. In NIO, the court denied

                   the defendants' motion to                  ust 2021 and ordered the completion

                                                             After repeated excuses, delays, and




                                   struction is in NIO's possession, it cannot

                                NIO receives authorization from the relevant Chi

                             been working diligently to obtain such authorization, in c    sultatio1'

                          laintiffs' U.S. and PRC counsel."). Plaintiffs have no interest in al wing

                     efendants in this action to attempt to shift the burden of any such simi



IX.     MODIFICATION

        This protocol may be modified by written agreement of the Parties or by the Court for good

cause shown.




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IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

 Respectfully submitted,                            Dated: May 31, 2024

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                                                    Inc.; Barclays Capital Inc.; Citigroup Global
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                                                    UBS Securities LLC; Mizuho Securities USA
                                                    LLC; and China Renaissance Securities
                                                    (US) Inc.

                                                    Isl Sheryl Shapiro Bassin
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         SO ORDERED.


         DATED:
                                                    Hon. Lewis A. Kaplan
                                                    U.S. District Judge




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                                CERTIFICATE OF SERVICE

       IT IS HEREBY CERTIFIED that on this 31st day of May 2024, this document filed
through the ECF system will be sent electronically to the registered participants on the Notice of
Electronic Filing and paper copies will be sent to any non-registered participants.

                                                                 Isl Laurence Rosen




                          10862~0002114978066. 1 Case No. l:21-cv-05807-LAK-VF
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